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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division



UNITED STATES OF AMERICA


        V.

                                                             Criminal No. 3:19mj_
GENE A. DOWNUM,

               Defendant



                                 CRIMINAL INFORMATION



        THE UNITED STATES ATTORNEY CHARGES THAT:

        At all relevant times:

        1.     The defendant, GENE A. DOWNUM,was on Naval Support Activity South

Potomac, Dahlgren, Virginia, in the Eastern District of Virginia.

       2.      Naval Support Activity South Potomac,Dahlgren, Virginia is property

administered by the Department of Defense and is within the special maritime and territorial

jurisdiction ofthe United States and this Court.



                                         COUNT ONE
                                     (Citation No. 6794969)

       On or about August 24,2019,in the Eastern District of Virginia, at Naval Support

Activity South Potomac, Dahlgi-en, Virginia, within the jurisdiction of this Court and the special

territorial jurisdiction ofthe United States, the defendant, GENE A. DOWNUM,was found
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operating a motor vehicle under the influence of alcohol, with a blood alcohol concentration of
0.10 grams per 210 liters of breath.

       (In violation ofTitle 18, United States Code, Section 13, assimilating the 1950 Code of
Virginia, as amended. Sections 18.2-266 and 18.2-270 et seq.)


                                                    G.ZACHARY TERWILLIGER
                                                    UNITED STATES ATTORNEY



                                            By:
                                                    Kaitlin G. Cooke
                                                    Assistant United States Attomey
